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Local Counsel for Highland Capital Management, L.P.

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

In re:                                                           § Chapter 11
                                                                 §
HIGHLAND CAPITAL MANAGEMENT, L.P.,1                              § Case No. 19-34054-sgj11
                                                                 §
                                    Debtor.                      §
                                                                 §
UBS SECURITIES LLC et al.,                                       §
                                                                 §
                                    Plaintiff,                   §
                                                                 §
v.                                                               § Adv. Proc. No. 21-3020-sgj11
                                                                 §
HIGHLAND CAPITAL MANAGEMENT, L.P.,                               §
                                                                 §
                                     Defendant.                  §

                              NOTICE OF APPEARANCE AND REQUEST FOR
                               SERVICE OF NOTICES AND OTHER PAPERS


         PLEASE TAKE NOTICE that Hayward PLLC hereby appears as local counsel to the

Defendant Highland Capital Management, L.P. and hereby requests, pursuant to Rules 2002, 3017,

and 9007 of the Federal Rules of Bankruptcy Procedure, or pursuant to any other applicable rule

or statute, that notice of all matters which may come before the Court be given as follows:



1
 The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.


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       The foregoing request includes, without limitation, all notices, papers and disclosure

statements referred to in Rules 2002, 3017, and 9007 of the Federal Rules of Bankruptcy Procedure

and also includes notice of any orders, applications, complaints, demands, hearings, motions,

petitions, pleadings or requests, and any other documents brought before the Court in this case,

whether formal or informal, whether written or oral, and whether transmitted or conveyed by mail,

hand delivery, telephone, telegraph, facsimile, or otherwise.

       DATED: April 6, 2021.

                                             Respectfully submitted,

                                             HAYWARD PLLC

                                             By: /s/ Melissa S. Hayward
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                                             LOCAL COUNSEL FOR HIGHLAND CAPITAL
                                             MANAGEMENT, L.P.




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                                 CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing Notice of Appearance has been
served electronically via the Court’s CM/ECF system upon all parties receiving electronic notice in
this case.


                                              /s/ Melissa S. Hayward
                                              Melissa S. Hayward




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